               Case 2:22-cv-00509-SRB Document 209 Filed 01/05/23 Page 1 of 3
                                                                               Mi Familia Vota, et. al v. Hobbs, et. al.
                                                                                                   CV-22-00509-SRB

1    TONY ROGERS
2
     LA PAZ COUNTY ATTORNEY
     Jason Mitchell (SBN 035878)
3    Deputy County Attorney
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     Parker, AZ 85344
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6
     Attorneys for Richard Garcia, La Paz County Recorder
7
                                  UNITED STATES DISTRICT COURT
8
                                      DISTRICT OF ARIZONA
9
     Mi Familia Vota, et al.,                                 Case No. 2:22-CV-00509-SRB
10

11                      Plaintiffs,                           SUBSTITUTION OF COUNSEL FOR
     vs.                                                      DEFENDANT LA PAZ COUNTY
12                                                            RECORDER RICHARD GARCIA
13   Katie Hobbs, et. al.,

14                                Defendants.
15
             NOTICE IS HEREBY GIVEN that Deputy County Attorney Jason Mitchell of the
16

17
     La Paz County Attorney’s Office enters his appearance as the attorney of record for

18   Defendant Richard Garcia, in his official capacity as La Paz County Recorder, in
19
     substitution of the previous attorneys of record, William Moran II and Kimberly J.
20
     Hunley of the Santa Cruz County Attorney’s Office.* Service of all correspondence,
21

22   motions and other papers should be directed to:
23
             Jason Mitchell (jmitchell@lapazcountyaz.org)
24           La Paz County Attorney’s Office
             1320 S. Kofa Ave
25           Parker, AZ 85344
26           Tele: (928) 669-6118

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28
     *The Santa Cruz County Attorney’s Office had appeared on La Paz County’s behalf until counsel from the La Paz
     County’s office could get admitted to the Federal Bar. Counsel is now admitted.
                                                         Page 1 of 3
               Case 2:22-cv-00509-SRB Document 209 Filed 01/05/23 Page 2 of 3
                                                                               Mi Familia Vota, et. al v. Hobbs, et. al.
                                                                                                   CV-22-00509-SRB

1    RESPECTFULLY SUBMITTED THIS 5th day of January, 2023.
2
                                                        TONY ROGERS
3                                                       LA PAZ COUNTY ATTORNEY
4
                                                        /s/ Jason Mitchell
5                                                       By: Jason Mitchell
                                                        Deputy County Attorney
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                                                         Page 2 of 3
               Case 2:22-cv-00509-SRB Document 209 Filed 01/05/23 Page 3 of 3
                                                                               Mi Familia Vota, et. al v. Hobbs, et. al.
                                                                                                   CV-22-00509-SRB

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2
                                        CERTIFICATE OF SERVICE

3            I hereby certify that on this 5th day of January, 2023, I electronically filed the
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     foregoing attached documents to the Clerk’s Office using the CM/ECF System for filing
5
     and transmittal of a Notice of Electronic Filing to the CM/ECF registrants on record.
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                                                         Page 3 of 3
